Case 6:22-cv-01933-WWB-LHP Documenté6 Filed 03/27/23 Page 1 of 6 PagelD 20
Amerded

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

UNITED STATES DISTRICT COURT

for the
Middle District of Florida [|

x | Civil Division
Lisa Enlow and John Enlow B
cuene.  ()9)-0v-O1933-WWB-LH P

)
) (to be filled in by the Clerk's Office)
Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint. Bat,
If the names of all the plaintiffs cannot fit in the space above, ) Jury Trial: (check one) Yes LI No
please write “see attached” in the space and attach an additional )
page with the full list of names.) )
-\y- )
Wal-Mart Stores, Inc, Aaron Arndt, Jeffrey Schaufus )
)
DMNeS Ris. ) 2S
" = Mm
e ) 3Ea wy
Defendant(s) ) cs fn 2 = “Ti
(Write the full name of each defendant who is being sued. Ifthe ) oY -o
names of all the defendants cannot fit in the space above, please ) Din> Mf
write “see attached” in the space and attach an additional page o a5 ~d j
with the full list of names. Do not include addresses here.) se — “0 iT
eG2 2 '
to gone
aes wo WW
Amended COMPLAINT FOR VIOLATION OF CIVIL RIGHTS Pres
MS

(Non-Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should mot contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include on/y: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

Page | of 6
Case 6:22-cv-01933-WWB-LHP Document 6 Filed 03/27/23 Page 2 of 6 PagelD 21

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

I. The Parties to This Complaint

A, The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.

Name
Address

County
Telephone Number
E-Mail Address

B. The Defendant(s)

Lisa Enlow and John Enlow
2572 Emerson Drive SE

Palm Bay FL 32909
City State Zip Code

Brevard

321-474-3345

enlow9174@yahoo.com

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if known) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1
Name
Job or Title (jf known)
Address

County
Telephone Number

E-Mail Address (if known)

Defendant No. 2
Name
Job or Title (if known)
Address

County
Telephone Number
E-Mail Address (if known)

Wal-Mart Stores, Inc

702 SW 8th Street

Bentonville AR 72716
City State Zip Code

Benton County
479-273-4000

[] Individual capacity Official capacity

Aaron Arnat ee
130 Malabar Road
Palm Bay __ FL neo

Cy State Zip Code
Brevard

321-952-3456

[] Individual capacity Official capacity

Page 2 of 6
Case 6:22-cv-01933-WWB-LHP Document 6 Filed 03/27/23 Page 3 of 6 PagelD 22

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

Il.

Defendant No. 3

Name Jeffrey Schaufus
Job or Title (if known) Loss Prevention Officer
Address 1040 Malabar Road
Palm Bay FL 32907
- City State Zip Code
County Brevard
Telephone Number 321-723-2171

E-Mail Address (if known)

[| Individual capacity Official capacity

Defendant No. 4

Name Sane Ris

Job or Title (if known)

Address 4092 Mere, [illo Deve, Mert 4 JO?
West Me|b ousne 1 B29

rd State _ a ode
County ‘Row
Telephone Number Beers. 6) (p

E-Mail Address (if known)
[ ] Individual capacity fe ona capacity

Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A.

Are you bringing suit against (check all that apply):
[ | Federal officials (a Bivens claim)

State or local officials (a § 1983 claim)

Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?
Deprivation of Rights; retaliatory prosecution. Violation of Title 18, U.S.C., Section 242 - Deprivation of
Rights Under Color of Law

Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

Page 3 of 6
Case 6:22-cv-01933-WWB-LHP Document6 Filed 03/27/23 Page 4 of 6 PagelD 23

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

WW.

D. Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

a3

Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A, Where did the events giving rise to your claim(s) occur?
Wal-Mart Stores, Inc.
1040 Malabar Road
Palm Bay, FL 32907

B. What date and approximate time did the events giving rise to your claim(s) occur?
10/18/2020
C. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?

Was anyone else involved? Who else saw what happened?)

We are the victims of police misconduct, wrongful arrest, discrimination, defamation of character and
coercion. We have been blocked from making complaints to internal affairs by the police chief (he
actually cancelled 2 meetings), told that because | am a woman | was trying to make a complaint
because my feelings were hurt. The current command staff has attempted to coerce me into changing
my statements and the police have refused service to us and then laughed on about it and taunted us
when we called to request a police response. After making these complaints, my husband and | were
wrongfully arrested by an officer we made a complaint about, Officer Aaron Amdt to the prior Chief of
police Jim Rogers, (after Aaron Arndt recognized us, verbally stated he recognized us, the charges
went from tresspassing which is what Jeffrey Shaufus requested to misdemeanor to a felony after
recognizing we were the one who made a complaint against him). | have never even had a speeding
ticket let alone be a hardened felon. The police department and command staff have abused their

we received has been altered. The original receipt was confiscated

by Aaron Arndt and has since disappeared. The computer generated |
age 40

receipt received is altered.
Case 6:22-cv-01933-WWB-LHP Document6 Filed 03/27/23 Page 5 of 6 PagelD 24

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)

IV. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

Post Traumatic Stress, Emotional Distress, Insomnia, Weight Gain, Depression, Panic Attacks, Heart
Palputation, mental anguish,

V. Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

$500,000 for Lisa Enlow for PTSD, Mental Anguish, defimation of character caused by the Malicious, vengeful,
retaliatory arrest.

$500,000 for John Enlow for PTSD, Mental Anguish, defimation of character caused by the Malicious, vengeful,
retaliatory arrest.

Page 5 of 6
Case 6:22-cv-01933-WWB-LHP Document6 Filed 03/27/23 Page 6 of 6 PagelD 25

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

VI.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
| agree to provide the Clerk’s Office with any changes to my address where case—related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Gof 2023
Date of signing: ee

Signature of Plaintiff A

o

Printed Name of Plaintiff Lisa Enlow and John Enlow,
B. For Attorneys

Date of signing:

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm
Address

City ‘State Zip Code
Telephone Number
E-mail Address

Page 6 of 6
